Case 9:12-cv-81040-RSR Document 11 Entered on FLSD Docket 01/21/2013 Page 1 of 2




                           UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF FLORIDA
                             WEST PALM BEACH DIVISION


  ALICE EPPS ,                                          Civil Action No.:
       Plaintiff,                                       12-81040-CIV-ROSENBAUM

  vs.

  OCWEN FINANCIAL CORPORATION;
  and DOES 1 through 10, inclusive,
        Defendant.




         Plaintiff, Alice Epps, by counsel, and Defendant, Ocwen Financial Corporation, by

  counsel, hereby stipulate and agree that all matters herein between them have been compromised

  and settled, and that Plaintiff’s cause against Ocwen Financial Corporation should be dismissed,

  with prejudice.

         The parties further stipulate and agree that this Court will retain jurisdiction for the

  limited purpose of enforcing this settlement. This stipulation to dismiss is contingent on the

  Court retaining jurisdiction for enforcing settlement. The parties thereby have the ability to seek

  enforcement of the settlement with this court if necessary.



                                                         RESPECTFULLY SUBMITTED,
                                                         By: /s/ Benjamin H. Crumley
                                                         Benjamin H. Crumley, Esq.
                                                         Florida Bar No. 018284
                                                         Crumley & Wolfe, P.A.
                                                         2254 Riverside Avenue
                                                         Jacksonville, FL 32204
                                                         Phone: (904) 374-0111
                                                         Fax: (904) 374-0113
                                                         Email: ben@cwbfl.com
                                                         Attorney for Plaintiff



                                                    1
Case 9:12-cv-81040-RSR Document 11 Entered on FLSD Docket 01/21/2013 Page 2 of 2




                                           AKERMAN SENTERFITT
                                           /s/ Adam G. Schwartz
                                           VICTOR R. BERWIN
                                           Florida Bar No.: 823821
                                           victor.berwin@akerman.com
                                           ADAM G. SCHWARTZ
                                           Florida Bar No.: 26978
                                           adam.schwartz@akerman.com
                                           222 Lakeview Avenue, Suite 400
                                           West Palm Beach, Florida 33401
                                           Telephone: 561-671-3626
                                           Facsimile: 561-659-6313
                                           – and –
                                           WILLIAM P. HELLER
                                           Florida Bar No.: 987263
                                           Las Olas Centre II, Suite 1600
                                           50 East Las Olas Boulevard
                                           Fort Lauderdale, Florida 33301-2229
                                           william.heller@akerman.com
                                           Telephone: 954-463-2700
                                           Facsimile: 954-463-2224
                                           Counsel for Defendant,
                                           Ocwen Financial Corporation




                                       2
